                                                                                                              FILED IN THE
         Case 2:15-cr-00144-SMJ           ECF No. 623        filed 09/26/16     PageID.2791 Page U.S.
                                                                                                  1 of   1 COURT
                                                                                                      DISTRICT
✎ PS 8                                                                                              EASTERN DISTRICT OF WASHINGTON
(3/15)

                                                                                                     Sep 26, 2016
                              UNITED STATES DISTRICT COURT                                                SEAN F. MCAVOY, CLERK


                                                            for
                                           Eastern District of Washington


U.S.A. vs.                  Gourneau, Nichole M.                        Docket No.           2:15CR00144-SMJ-15

                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the
conduct of defendant Nichole M Gourneau, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge, John T. Rodgers, sitting in the Court at Spokane, Washington, on the 20th day of January 2016 under
the following conditions:

Special Condition: Defendant shall complete treatment indicated by an evaluation or recommended by Pretrial Services
and shall comply with all rules of a treatment program. Defendant shall be responsible for the cost of testing, evaluation
and treatment, unless the United States Probation Office should determine otherwise. The United States Probation Office
shall also determine the time and place of testing and evaluation and the scope of treatment.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: The defendant has been terminated from treatment services due to a threat made towards an employee.


                          PRAYING THAT THE COURT WILL ORDER A SUMMONS
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       September 26, 2016
                                                                  by     s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[X]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other


                                                                           Signature of Judicial Officer
                                                                                  September 26, 2016
                                                                           Date
